Case 1:13-cv-13086-JGD Document 38-8 Filed 07/15/15 Page 1of2

Exhibit G
Case 1:13-cv-13086-JGD Document 38-8 Filed 07/15/15 Page 2 of 2

Chantelle D'Angelo
AeA CERO AERA RE AO
From: Dmitry Lev, Esq. <dlev@levlaw.net>
Sent: Friday, May 29, 2015 4:22 PM
To: Chantelle D'Angelo
Subject: Re: Niles matter
Ms. D'Angelo,

| am now in possession of most of the medical records in connection with this case. Please use this fink:

https://www.dropbox.com/sh/c58qx9qpe88sc9w/AADDxT KmzGl6bMgLQ2hap6h7a?dl=0

..to access these records electronically. "m" indicates a medical record, "b" indicates a billing record, and "mb"
indicates that both are contained within the file. Please note that | am still missing the medical record from Lahey Clinic
and Wakefield Physical Therapy, which is actually the buik of Mr. Niles' treatment. | expect to provide these to you as
soon as | receive them (which i've been trying to do for months).

Please let me know if you have any difficulties accessing the records.

Very truly yours,

Dmitry Lev, Esq.

Law Offices of D. Lev, P.C.
134 Main Street
Watertown, MA 02472
(617) 556-9990 tel

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dlev@leviaw.net

On Fri, May 29, 2015 at 4:10 PM, Chantelle D'Angelo <cDAngelo@iccplaw.com> wrote:
> Thank you for your response.

>

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>

> Chantelle D'Angelo, Esq.

>

> Louison, Costello, Condon & Pfaff, LLP
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> 101 Summer Street

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> Boston, MA 02110

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> Tel: (617) 439-0305

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> Fax: (617) 439-0325

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